ii
         Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 1 of 6


     USDC FLSD 2458 (Rev.09/08)-JudgmentinaCrimi
                                               nalCase                                                                  Page1of6


                                U N IT E D ST A T E S D IST R TC T C O U R T
                                                    Southern D istrictofFlorida
                                                             M iam iD ivision


      UNITED STATESoF AM XRICA                                        JUD GM ENT IN A CR IM IN AL CA SE
                           V.
     A BR AH A M ED G A RD O O R TEG A                                CaseNumber:18-cr-20685-W i!liam s
                                                                      U SM N um ber:17714-104

                                                                      CounselForDefendant:LillyAnn Sabchez
                                                                      CotmselForTheU nited States:K urtK .Lunkenheim er,PaulA .
                                                                      Hayden,N alinaSom. buntham
                                                                      Coul'tReporter;Sharon Velazco
     Thedefendantpleadid guilty to Count1 oftheSuperseding lnform ation.
     Thedefendantisadjudicatedguilty oftheseoffenses:
     TITLE & SECTION                   NATURE OF O/FENSE                                          oyw xsE           COUNT
                                                                                                  EN D ED
                                                         .        !
     18U.S.C.1956(h)           ConspiracytoCommitM ondayLaundering               07/01/2018    1
     The defendant is sentenced as provided in the following pages ofthisjudgment.The sentence is imposed
     pursuantto the Sentencing Reform A ctof 1984.
     It is ordered that the defendantm ust notify the United States attorney for this district within 30 days of any
     change of nam e,residence,or m ailing address untilal1tines,restitution,costs,and specialassessm ents im posed
     bythisjudgmentarefullypaid.Iforderedtopayrestitut.
                                                      ion,thedefendantmustnotifythecourtandUnited States
     attolmey ofm aterialchanges in econom ic circllm stances.




                                                                      DatèofImposition ofSentence:5/5/2021




                                                                      K athleen M W illiam s                               '
                                                                      U nited Stat sD istrictJudgè


                                                                      oate:     'G da
     Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 2 of 6
USDCFLSD 2458 (Rev.09/08)-JudgmentinaCriminalCase       .                                           Page2of6
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D EFEND A N T:A braham Edgardo O rtcga
CA SE N U M BER :18-cr-20685-W iIliam s

                                                      IM PRISONM ENT

The defendantishereby com mitted to the custody ofthe United StatesBtlreau ofPrisonsto be imprisoned fora
totalterm of28 m onths.
The C ourtm akej the follow ing recom m endations to the Bureau ofPrisons:
Defendantbedesignated to a faclllty in orascloseto South Florida aspossible.
Defendantshallpurrender to the designated facility and/or the US M arshalfor thisDiytrict on or before
9/2/2021 by 12:00 pm .

                                                            RETU R N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                  to

at                                                  ,withacertifiedcopyofthisjudgment.




                                                               UN ITED STATES M AR SH A L



                                                               D EPU TY UN ITED STA TES M A RSH M
     Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 3 of 6

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                             udgmentinaCriminalCase                                                            '-E
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DEFEN D AN T:A braham Edgardo O rtèga
CA SE N U M BER :18-cr-20685-W ilIiam T

                                                      SU PER VISED RELEA SE

Upon release from imprisonnïent,the defendantshallbeon supervised releaseforatenn of3 years.
Thedefendantm ustreportto the probation offce in the districtto which the defendantisreleased within 72 hoursofrelease
from thecustody oftheBureau ofPrisons.
The defendantshallnotcom m itanotherfederal,stateorlocalcrim e.
The defendantshallnotunlaw fully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubmitto pne drug testwithin 15 daysofrelease from im prisonmentand atleast
t'
 w o periodic drug teststhereafter,asdeterm ined by the court.
Thedefendantshallnotpossessa llrearm ,am m unition,destructive device,or any other dangerousweapon. '
The defendantshallcooperatein the collection ofDNA as directed by the probation ofncer.

lfthisjudgmentimposesafineorrestitution,itisacofzdition ofsupervisedrelease.
                                                                           thatthedefendantpayin accordance
withtheScheduleofPaymentssheetofthisjudgment.
The defendantmustcom ply with the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson the attached page. '
                               STA N DA RD C O N DITIO N S O F SU PER V ISIO N
         Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationoftker; .
          Thedefendantshallreportto theprobationofficerand shallsubm itatruthfulandcompletewrittenreportwithin thefirstfifteen
          daysofeach m onth;
          Thedefendantshallanswertruthfully allinquiriesby theprobationofficerand follow theinstructionsoftheprobation oftker;
          Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
          Thedefendantshallwork regularly atalawf' uloccupation,tmlessexcusedby theprobation officerforschooling,training,or
        '
         otheracceptablereasons;
         Thedefendantshallnotify theprobation officeratleastten dayspriortoany changeinresidenceoremployment;
         Thedefendantshallregain âom excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
         controlled substanceorany paraphernaliarelatedto any conkolled substances,exceptasprescribedby aphysician;
         Thedefendantshallnotfrequentplaceswherecontrclledsubstancesareillegally sold,used,distributed,oradministered;
         Thedefendantshallnotassociatewith any personsengagedin crhninalactivityandshallnotassociatewithanyperson
         convicted ofafelony,unlessgranted perm ission to dosoby theprobation officer;          .
     10.Thedefendantshallpermitaprobation officerto visithim orheratany timeathomeorelsewhereand shallpermitconfiscation
         ofany contraband observed inplainview oftheprobation officer;
     11. Thedefendantshallnotify theprobationofficerwithin seventptwohoursofbeing arrestedorquestiohed by alaw enforcement
         offker;
     12. Thedefendantshallnotenterhltoany agreementto actasan informeroraspecialagentofa1aw enforcementagency without
         theperm ission ofthecourt;and                                                       .
     l3. Asdirectedby theprobationoftker,thedefendantshallnotifythirdpartiesofrisksthatmay bqoccasionedbythedefendant's
         criminalrecord orpersonalhistory orcharacteristicsand shallpermittheprobation oftk ertomakesuchnotifkationsand to
         confirm thedefendant'scom pliancew ith suchnotificationrequirem ent.
    Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 4 of 6
USDC FLSD 2458 (Rev,09/08)-JudgmentinaCri
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DEFENDAN T:Abraham Edgardo Ortega
CASENUM BER:18-cr-206j5-W illiams
                                             SPE CIAL CO N D IT ION S O F SU PER W SIO N

FinancialDisclosureRequirem ent-Thedefendantshallprovidç complete accessto financialinform ation,
including disclosureofallbusinessand personalfinances,to theU.S.Probation Oftk er.

NoN ew DebtRestriction -Thedefendantshallnotapply for,solicitorincurany furtherdebt,included butnot
limited toloans,linesofcreditorcreditcard charges,eitherasaprincipalorcosigner,asan individualortluough
any corporateentity,withoutfrstobtainingpennission from theUnited StatesProbation Ofscer.

Self-Employm entRestriction -Thedefendantshallobtain priorwritten approvalfrom theCourtbeforeenteringt
into any self-em ploym ent.              '

UnpaidRestitution,Fines,orSpecialAssessm ents-Ifthedefendanthasany unpaid am ountofrestitution,fines,
orspecialassessments,thedefendantshallnotify theprobation offcerofany m aterialchange in the defendant's
economiccircum stancesthatmightaffectthe defendant'sabilitytopay.
     Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 5 of 6
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             I 2458 (
                    Rev.09/08)-JudgmentinaPriminalCase                                                Page5of6

D EFEN D AN T:A braham E dgardo O rtega
CASE NUM BER:18-cr-20685-W illiam s

                                              CRIMINAL MONETARV A NALTIES
The defendantm ustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaym ents on Sheet6.
                                                Assessment            Fine              Restitution
                                                                                          $0.00
            TOTALS                                 $100.00            $0.00

The determination of restitution is deferred unjilthe hearing scheduled for 8/3/2021 at 2:00 pm.An
Amended Judgmentin aCrim inalCase(AO 245C)willbeentered aftersuch determination.
lf the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherwise in the'priority order or percentage paym ent colum n below .H ow everr
pursua
    #
      ntto18U.S.C.j366441),alInopfederalvictim)smustbepaidbeforetheUnitedStatesispaid.
NA M E O F PA YE E                                           TO TA L LO SS*   R ESTITUTION O RD ERED
*Findingsforthetotalam ountoflossesare required underChapters 109A,110,1IOA,and 113A ofTitle 18 for
offensescom mittedon orafterSeptember13,1994,butbeforeApril23,1996.
**Assessm entdueimm ediately unlessotherwise ordered by theCourt.
    Case 1:18-cr-20685-KMW Document 405 Entered on FLSD Docket 05/17/2021 Page 6 of 6
USDC FLSD 2458 (Rev.09/08)-JudgmentinaCriminalCase                                                  '     Paae6of6

D EFEN DA N T:A braham Edgardo O rtega
CA SE N U M BER :18-cr-20685-W illiam s

                                                     SCH ED U LE O F PAY M EN TS

Having assessed the defendant's ability to pay,paym ent of the totalcriminal m onetary penalties is due as
follow s:     .
A.Lum p sum paym entof$100.00 due im m ediately.
Unlessthecourthasexpressly ordered othem ise,ifthisjudgmentimposesimprisonment,paymentofcriminal
monetary penalties is due during imprisonment.Al1crim inalm onetary penalties,except those payments m ade
tluough the FederalBureau ofPrisons'Inmate FinancialResponsibilil Program ,are m ade to the clerk ofthe
Col1rt.                                                                                                  S

The defendant shallreceive creditfor allpaym ents previously made toward any crim inalmonetary penalties
im posed.
Thisassessm ent/fine/restitution ispayabletothe CLERK,UNITED STATES COURTS and istobe addressedto:
U .S.CLER K 'S O FFIC E
A TTN :FINA N CIA L SE CTIO N
400 N O R TH M IA M I A VEN U E,R O O M 08N 09
M IA M I,FLO R IDA 33128-7716
The assessm ent/fine/restitution is payable imm ediately.The U .S.Bureau ofPrisons,U.S.Probation Office and
theU.S.Attom ey'sOftice areresponsibleforthe enforcem entofthisorder.
Defendantand Co-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmotmt,Jointand
SeveralA m ount,and corresponding payee,ifappropriate.
CA SE N UM BER                                                                            JOIN T A ND SEVER AL
DEFEND A NT A N D CO -D EFE ND AN T N A M ES                           T O TAL A M O UN T A M O U N T
(INCLUDING DEFENDANT NUM BER)
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and (8)costs,includingcostof
prosecution and courtcosts.                                                                  -       '
